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                                                                September 14, 2022
   VIA ECF:
   The Honorable Ann M. Donnelly
   United States District Court Judge
   United States District Court, Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

                          Re:   United States v. Kelly, 19 CR 286 (AMD)

   Dear Judge Donnelly:

           Undersigned counsel writes to respectfully request that Defendant Kelly be
   permitted to appear via zoom for the September 28th, 2022, restitution hearing. Mr. Kelly
   is currently housed at the Metropolitan Correctional Center in Chicago, Illinois. Mr.
   Kelly has sustained an injury to his leg that makes traveling challenging and
   uncomfortable. Furthermore, a significant amount of resources would have to be utilized
   to have Mr. Kelly flown in from Chicago to the Eastern District of New York for this
   hearing. For the foregoing reasons, Defendant respectfully requests that he be permitted
   to appear via zoom for the hearing. The government has no objection to this request.
   Thank you in advance.


                                                       Respectfully Submitted,

                                                       /s/ASHLEY COHEN


   cc:    AUSA Lauren Elbert (via ECF)
